Case 8:21-cv-02524-SDM-TGW Document 49 Filed 03/29/23 Page 1 of 3 PageID 755




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


STATE OF FLORIDA,

      Plaintiff,

      v.                                             No. 8:21-cv-2524-SDM-TGW

BILL NELSON, et al.,

      Defendants.

_________________________________/

                             JOINT STATUS REPORT

      In compliance with this Court’s order, Doc. 48, the parties submit this joint

status report. The parties agree that this case should not be stayed indefinitely. The

parties also agree, however, with continuing the stay until the public health emergency

declaration expires on May 11, 2023. The parties therefore propose that the stay end

on May 25, 2023. The parties will confer between May 11 and May 25 and submit a

proposal regarding further proceedings on or before May 25, 2023.
Case 8:21-cv-02524-SDM-TGW Document 49 Filed 03/29/23 Page 2 of 3 PageID 756




Respectfully submitted,

Ashley Moody                                  John Guard (FBN 374600)
ATTORNEY GENERAL                              CHIEF DEPUTY ATTORNEY GENERAL

/s/ James H. Percival                         Henry C. Whitaker (FBN 1031175)
James H. Percival* (FBN 1016188)              SOLICITOR GENERAL
CHIEF OF STAFF
*Lead Counsel                                 Natalie P. Christmas (FBN 1019180)
                                              COUNSELOR TO THE ATTORNEY
                                              GENERAL
Office of the Attorney General
The Capitol, Pl-01
Tallahassee, Florida 32399-1050
(850) 414-3300
(850) 410-2672 (fax)
james.percival@myfloridalegal.com

Counsel for the State of Florida


BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General

BRAD P. ROSENBERG
Special Counsel

/s/ Kevin Wynosky
ZACHARY A. AVALLONE
KEVIN WYNOSKY (PA Bar No. 326087)
Trial Attorneys
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street NW, Room 12400
Washington, D.C. 20005
(202) 616-8267
Kevin.J.Wynosky@usdoj.gov

Counsel for Defendants




                                              2
Case 8:21-cv-02524-SDM-TGW Document 49 Filed 03/29/23 Page 3 of 3 PageID 757




                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was filed with the

Court’s CM/ECF system, which provides notice to all parties, on this 29th day of

March, 2023.

                                              /s/ James H. Percival
                                              James H. Percival




                                             3
